
Pierre J. Renelique, M.D., P.C., as Assignee of Guzman, Ramon, Respondent,
againstPark Ins. Co., Appellant.




Gullo &amp; Associates, LLP (Natalie Socorro of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Ingrid Joseph, J.), entered December 17, 2015. The order denied defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from an order of the Civil Court which denied defendant's motion for summary judgment dismissing the complaint.
Contrary to defendant's contention, the Civil Court properly determined that defendant had failed to establish the timely and proper mailing of the independent medical examination (IME) scheduling letters. Defendant's moving papers stated that the IME scheduling letters were sent to plaintiff's assignor at "2497 Grant Avenue, Basement, Bronx, NY 10468," but the NF-3 form submitted by plaintiff indicated that the assignor's address was "2307 Morris Ave, #2C, Bronx NY 10453." A presumption of receipt arises only where there is proof of a proper mailing (see Residential Holding Corp. v Scottsdale Ins. Co., 286 AD2d 679 [2001]; Infinity Health Prods., Ltd. v Redland Ins. Co., 39 Misc 3d 140[A], 2013 NY Slip Op 50751[U] [App Term, 2d [*2]Dept, 2d, 11th &amp; 13th Jud Dists 2013]). To the extent that copies of the IME scheduling letters were sent to an attorney, there is nothing in the record to suggest that plaintiff's assignor was represented by that attorney. Consequently, defendant's moving papers failed to demonstrate that the IMEs had been properly scheduled (see Great Health Care Chiropractic, P.C. v Citiwide Auto Leasing, 43 Misc 3d 127[A], 2014 NY Slip Op 50476[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2014]; Infinity Health Prods., Ltd., 39 Misc 3d 140[A], 2013 NY Slip Op 50751[U]; cf. Star Med. Servs., P.C. v Allstate Ins. Co., 11 Misc 3d 131[A], 2006 NY Slip Op 50344[U] [App Term, 2d Dept, 2d &amp; 11th Jud Dists 2006]) and, thus, that it is entitled to summary judgment dismissing the complaint.
Accordingly, the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 25, 2018










